Case 1:20-cv-01809-EGS Document 1-4 Filed 07/02/20 Page 1 of 2




         EXHIBIT 3
          Case 1:20-cv-01809-EGS Document 1-4 Filed 07/02/20 Page 2 of 2




                   SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                   Civil Division


  DISTRICT OF COLUMBIA,

                   Plaintiff,                                  Case No. 2020 CA 002697 B
                                                                    Judge Robert R. Rigsby
              v.

  ELEVATE CREDIT, INC.,

                   Defendant.




                                            ORDER

         This matter is before the Court on Defendant’s Consent Motion to Extend Time to Respond

to Complaint, filed on June 22, 2020. Defendant requests to extend the time to respond to the

complaint. Plaintiff consents to the requested relief. The Court finds good cause to grant the

request. Accordingly, and based on the entire record herein, it is this the 29th day of June, 2020,

hereby

         ORDERED that the motion is GRANTED; it is further

         ORDERED that Defendant shall answer or otherwise respond to the complaint on or

before July 17, 2020.

         SO ORDERED.

                                             _______________________________
                                             Robert R. Rigsby, Associate Judge
                                             Superior Court of the District of Columbia




Copies to counsel of record via CaseFileXpress.
